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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO

CLAUDELL HODGES,

              Plaintiff,

v.                                                No. 2:17 – CV- 00960 GJF/KRS

GEICO INSURANCE,

              Defendant.

                                NOTICE OF SETTLEMENT

       Defendant, GEICO Insurance, by and through its counsel of record, Chapman and

Priest, P.C., (Stephen M. Simone), hereby files this Notice of Settlement and would

respectfully show as follows.

       Defendant hereby notifies the Court that all matters in controversy have been fully

and finally settled. Defendant shall prepare the final settlement documents to be executed

by the Parties. The Parties contemplate that all documents shall be exchanged and funds

tendered within thirty (30) days. As this represents a final settlement, the Parties will

submit the appropriate documents within thirty (30) days or sooner if directed by the Court,

to effectuate a dismissal with prejudice.

                                            Respectfully submitted,

                                            CHAPMAN AND PRIEST, P.C.


                                            /s/ Stephen M. Simone
                                            Stephen M. Simone
                                            P.O. Box 92438
                                            Albuquerque, NM 87199
                                            Tel: (505) 242-6000
                                            stephensimone@cclawnm.com
                                            Attorney for GEICO
     Case 2:17-cv-00960-JCH-KRS Document 26 Filed 11/22/17 Page 2 of 2



I HEREBYCERTIFY that on the 22nd day of November, 2017,
I filed the foregoing electronically through the CM/ECF
system, which caused the following parties or counsel to
be served by electronic means, as more fully reflected on
the Notice of Electronic filing:


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/s/ Stephen M. Simone
Stephen M. SImone
